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EXHIBIT A

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10/30/23, 1:54 PM emilyesquire.com Mail - Notice of Copyright Infringement - 12 Artworks

Py Gmail Emily Danchuk <emily@emilyesquire.com>
Notice of Copyright Infringement - 12 Artworks
1 message
Hillary white <wytrab8@yahoo.com> Thu, Oct 12, 2023 at 5:00 PM

Reply-To: Hillary white <wytrab8@yahoo.com>
To: "trademarks@paypal.com" <trademarks@paypal.com>

10/12/2023

Hillary White Rabbit LLC
23 Claires Way

Belfast, ME 04915

USA
wytrab8@yahoo.com
207-322-6300

trademarks@paypal.com
Notice of Copyright Infringement

Dear Copyright Agent,

| am an artist/T-shirt designer and am acting on my own behalf as copyright owner of the original work at issue. It has
recently come to my attention that numerous, affiliated merchant websites using multiple aliases (‘T-shirt AT Fashion LLC"
et al) are selling clothing/product that infringes at least 12 of my copyrighted works. Specifically, the infringing websites
are using PayPal services to sell counterfeit, print-on-demand products bearing unauthorized copies of my artworks.

Authorized examples of my original artworks can be found at:

Two Wolves On Their Phones - U.S. Copyright Registration No. VA0002352774
https:/Awww.deviantart.com/hillarywhiterabbit/art/Two-Wolves-On-Their-Phones-962937083

Glory To The Darkness - U.S. Copyright Registration No. VA0002295962
httos://www.deviantart.com/hillarywhiterabbit/art/Glory-To-The-Darkness-913024474

Street Cats - U.S. Copyright Registration No. VA0002145686
httos://www.deviantart.com/hillarywhiterabbit/art/Street-Cats-791288583

Air Biscuits - U.S. Copyright Registration No. VA0002260329
https://www.deviantart.com/hillarywhiterabbit/art/Air-Biscuits-884392967

Dead But Warm & Fuzzy - U.S. Copyright Registration No. VA0002185835
https://Awww.deviantart.com/hillarywhiterabbit/art/Dead-But-Warm-and-Fuzzy-822846817

Squirrel Blade - U.S. Copyright Registration No. VA0002253463
https:/Awww.deviantart.com/hillarywhiterabbit/art/Squirrel-Blade-879725160

Power Nap - U.S. Copyright Registration No. VA0002145131
https:/Awww.deviantart.com/hillarywhiterabbit/art/Power-Nap-725070175

Don’t Mess With My Rights - U.S. Copyright Registration No. VA0002309696
https://www.deviantart.com/hillarywhiterabbit/art/Don-t-Mess-With-My-Rights-920483975

Thunder Clucker - U.S. Copyright Registration No. VA0002395785
https:/Awww.deviantart.com/hillarywhiterabbit/art/Thunder-Clucker-965922786

Kissimmee Aliigator - U.S. Copyright Registration No. VA0002349386
https://www.deviantart.com/hillarywhiterabbit/art/Kissimmee-Alligator-959 144442

Hiss Into The Abyss - U.S. Copyright Registration No. VA0002197773
https://www.deviantart.com/hillarywhiterabbit/art/Hiss-Into-The-Abyss-832907058

https://mail.google.com/mail/u/1/2ik=96d9defb 1 6&view=pt&search=all &permthid=thread-f: 1779584946057688690 %7Cmsg-f:1779584946057688690&simpl=msg... 1/3

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The Bodacious Period - U.S. Copyright Registration No. VA0Q002137577
https:/Awww.deviantart.com/hillarywhiterabbit/art/The-Bodacious-Period-677639089
The unauthorized and infringing copies can be found at:

Two Wolves On Their Phones
https://animet-shirt.com/shirt/there-are-two-wolves-inside-you-shirt/

Glory To The Darkness
https://t-shirtat.com/shop/cat-glory-to-the-darkness-shirt/
https://spreadt-shirt.com/product/the-glory-to-the-darkness-t-shirt/

Street Cats
https://teenownow.com/product/raccoon-possum-and-skunk-adopt-a-cat-shirt/
Air Biscuits

https ://t-shirtat.com/sho

Dead But Warm & Fuzzy
https://xfrogclothing.com/product/skeleton-dead-but-warm-and-fuzzy-shirt/

Squirrel Blade
https://etsytees.com/product/while-you-were-busy-foraging-i-studied-the-blade-shirt/

Power Nap
https://olafshirt.com/product/power-nap-rainbow-grim-reaper-shirt/

Don’t Mess With My Rights
https://posedionclothing.com/product/official-dont-mess-with-my-rights-t-shirt/

Thunder Clucker
https://teepublicity.com/product/chicken-thunder-clucker-logo-shirt/

Kissimmee Alligator
https://usateelowprice.com/product/kissing-alligator-and-dolphin-kissimmee-alligator-art-shirt/

Hiss Into The Abyss
https://abayamzclothing.com/shirt/hiss-into-the-abyss-raccoon-shirt/?

The Bodacious Period
https://myshowercurtains.com/product/the-bodacious-period-t-shirt-at/
https://teehandus.com/product/official-dinosaur-the-bodacious-period-shirt/?

You may refer to the attached PDF screenshots of each website's checkout page which show PayPal is indeed a
method of payment.

This letter is an official notification under the Digital Millennium Copyright Act ("DMCA’).
| have a good faith belief that the use of my material as described herein is not authorized by me, my agent, or the law. |
affirm under penalty of perjury that all of the statements in this notification are accurate.

Sincerely,
Hillary White
Creator & Owner

13 attachments

#) TwoWolves_Checkout - T-Shirt AT Fashion LLC_ - animet-shirt.com - October - 12 - 2023 - 16 - 27.pdf

417K

#) Checkout - Online T-shirt store in the USA_ - spreadt-shirt.com - October - 12 - 2023 - 16 - 35.pdf
454K

https://mail .google.com/mail/u/1/7ik=96d9dcfb 16&view=pt&search=all&permthid=thread-f: 1779584946057688690%7Cmsg-f:1779584946057688690&simpl=msg... 2/3
Case 2:23-mc-00325-JAW Document 1-4 Filed 11/07/23 Page4of4 PagelID#: 11

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StreetCats_Checkout - Tee Now Now - Fashion New Shirts_ - teenownow.com - October - 12 - 2023 - 16 -

T) 37.paf
426K

#) GTTD-AirBiscuits_Checkout - t-shirtat.com - October - 12 - 2023 - 16 - 39.pdf
458K
DBWF_Checkout - XFrogclothing - xfrogclothing.com - October - 12 - 2023 - 16 - 40.pdf

a 380K

2 SB_Checkout - Etsytees fashion - etsytees.com - October - 12 - 2023 - 16 - 41.pdf
506K

a PN_Checkout - Nemo Clothing LLC - olafshirt.com - October - 12 - 2023 - 16 - 42.pdf
599K

a DMWMR_Checkout - Posedionclothing - posedionclothing.com - October - 12 - 2023 - 16 - 43.pdf

— 482K

2 TC_Checkout - TeePublicity Fashion LLC - Premi_ - teepublicity.com - October - 12 - 2023 - 16 - 44.pdf
415K

2 Checkout - ABay AMZ Clothing Store_ - abayamzclothing.com - October - 12 - 2023 - 16 - 50.pdf
417K

2 Checkout - myshowercurtains - myshowercurtains.com - October - 12 - 2023 - 16 - 52.pdf
505K

@ Checkout - Tee Hand US Store - Online Men &_ - teehandus.com - October - 12 - 2023 - 16 - 55.pdf
457K

#) KA_Checkout - USA Tee Low Price - Premium Fash_- usateelowprice.com - October - 12 - 2023 - 16 - 47.pdf
427K

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